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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     JOSE ANGEL BUSTAMANTE
6
7                         IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )       No. 05-0384 WBS
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER VACATING
13        v.                         )       DATE, CONTINUING CASE, AND
                                     )       EXCLUDING TIME
14   JOSE ANGEL BUSTAMANTE, et al.   )
                    Defendant.       )
15                                   )       Date: June 4, 2007
     _______________________________ )       Time: 8:30 a.m.
16                                   )       Judge: Hon. Shubb
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney MARY GRAD, Counsel for Plaintiff, and Attorney Dina L. Santos,
20   Counsel for Defendant JOSE ANGEL BUSTAMANTE, attorney VICTOR HALTOM,
21   counsel for SANTOS BUSTAMANTE, and attorney RUSSELL HUMPHREY, counsel
22   for SANTOS FELIX, that the status conference scheduled for May 14,
23   2007, be vacated and the matter be continued to this Court's criminal
24   calendar on June 4, 2007 at 8:30 a.m, for status and possible change of
25   plea.
26        This continuance is requested by the defense due to new
27   developments in negotiations, continuing investigation, further client
28   consultation, and continuing negotiations with the government
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1    concerning a number of factual and legal issues and the possibility of
2    reaching a negotiated settlement.        All counsel has just recently
3    received plea agreements, which need to be reviewed with each client.
4    Additionally, I am preparing for jury trial and have been unable to
5    meet with my client to review the latest plea agreement.           All counsel
6    therefore seek additional necessary preparation time.
7
8          IT IS FURTHER STIPULATED that time for trial under the Speedy
9    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
10   3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
11   ends of justice served in granting the continuance and allowing the
12   defendant further time to prepare outweigh the best interests of the
13   public and the defendant in a speedy trial.
14         The Court is advised that all counsel have conferred about this
15   request, that they have agreed to the June 4, 2007, date, and that Ms.
16   Grad has authorized Ms. Santos to sign this stipulation on her          behalf.
17
18
19         IT IS SO STIPULATED.
20
21   Dated: May 10, 2007                      /S/ Dina L. Santos
                                             DINA L. SANTOS
22                                           Attorney for Defendant
                                             JOSE ANGEL BUSTAMANTE
23
     Dated: May 10, 2007                      /S/ Victor Haltom
24                                           VICTOR HALTOM
                                             Attorney for Defendant
25                                           SANTOS BUSTAMANTE
26   Dated: May 10, 2007                      /S/ Russell Humphrey
                                             RUSSELL HUMPHREY
27                                           Attorney for Defendant
                                             SANTOS FELIX
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1    Dated: May 10, 2007                /S/ Mary Grad
                                            MARY GRAD
2                                           Assistant United States Attorney
                                            Attorney for Plaintiff
3
4                                       O R D E R
5          IT IS SO ORDERED.
6                      By the Court,
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8    Dated: May 10, 2007
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     Stipulation and Order                   3
